     Case 2:21-cv-05200-FMO-JEM Document 12 Filed 10/28/21 Page 1 of 1 Page ID #:35




1

2

3

4

5

6

7

8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

10

11    YONG KOO,                                  )   Case No. CV 21-5200 FMO (JEMx)
                                                 )
12                        Plaintiff,             )
                                                 )
13                 v.                            )   JUDGMENT
                                                 )
14    MYRIAM S. LUGA,                            )
                                                 )
15                        Defendant.             )
                                                 )
16

17          IT IS ADJUDGED THAT the above-captioned action is dismissed without prejudice.

18    Dated this 28th day of October, 2021.

19

20                                                                   /s/
                                                                Fernando M. Olguin
21                                                           United States District Judge

22

23

24

25

26

27

28
